         Case 3:19-md-02913-WHO Document 3825 Filed 03/01/23 Page 1 of 6


1                              UNITED STATES DISTRICT COURT
2                            NORTHERN DISTRICT OF CALIFORNIA
3

4
      IN RE: JUUL LABS, INC.,                   Case Nos. 3:19-md-2913-WHO;
5     MARKETING, SALES PRACTICES,                         3:19-cv-08177-WHO
      AND PRODUCTS LIABILITY
6     LITIGATION                                NOTICE OF VIDEOTAPED
                                                DEPOSITION
7
8                                               Hon. William H. Orrick
9

10         PLEASE TAKE NOTICE that the undersigned attorney will take the videotaped
11   deposition of:
12
           Name: Christopher Pepper
13

14         Date and Time: March 9, 2023, at 9:00 a.m. PST
15
           Location: Lieff Cabraser Heimann & Bernstein, LLP, 275 Battery Street, Suite
16
           2900, San Francisco, CA 94111
17

18         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30
19
     and In Re: Juul Labs, Inc., Marketing, Sales Practices, And Products Liability Litigation,
20
     Case No. 19-md-02913-WHO, Case Management Order Number 11 (CMO No. 11),
21

22   Defendants Altria Group, Inc., Philip Morris USA Inc., Altria Client Services LLC,
23
     Altria Group Distribution Company, and Altria Enterprises LLC (“Altria”), by and
24
     through the undersigned counsel, intend to depose Christopher Pepper at the place and
25
26   time set forth above.
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     NOTICE OF TAKING VIDEOTAPED ORAL DEPOSITION                        CASE NO. 3:19-md-02913
         Case 3:19-md-02913-WHO Document 3825 Filed 03/01/23 Page 2 of 6


1          The videotaped deposition will take place in person at Lieff Cabraser Heimann &
2
     Bernstein, LLP, 275 Battery Street, Suite 2900, San Francisco, CA 94111. The
3

4    deposition will be coordinated by TSG Reporting, with a business address of 1300 I
5    Street NW, Suite 400E, Washington, District of Columbia, 20005. This deposition is
6
     being taken for the purpose of discovery, for use at trial, or such other purposes as are
7
8    permitted under the Rules. The deposition will be recorded by stenographic means and
9    by audio and video.
10
           All who intend to appear in person must adhere to the following COVID-19
11

12   policies.   Live   participants   (including       the   witness,   attorneys,   staff,   court
13   reporters/videographers, and anyone else who intends to observe or participate live at
14
     the deposition) must show proof that they are vaccinated and boosted (if booster eligible)
15

16   unless they have a legal justification that can be reasonably accommodated.
17

18
     Date: March 1, 2023
19
                                            /s/ Beth A. Wilkinson
20
                                            Beth A. Wilkinson (pro hac vice)
21                                          Brian L. Stekloff (pro hac vice)
                                            James M. Rosenthal (pro hac vice)
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                                            Alysha Bohanon (pro hac vice)
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                                        Daphne O’Connor (pro hac vice)
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                                        David E. Kouba (pro hac vice)
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15                                      Attorneys for Defendants Altria Group, Inc.,
                                        Philip Morris USA Inc., Altria Client Services
16                                      LLC, Altria Group Distribution Company, and
                                        Altria Enterprises LLC
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     NOTICE OF TAKING VIDEOTAPED ORAL DEPOSITION                  CASE NO. 3:19-md-02913
         Case 3:19-md-02913-WHO Document 3825 Filed 03/01/23 Page 4 of 6


1                               CERTIFICATE OF SERVICE
2
           I hereby certify that on March 1, 2023, a true and correct copy of the foregoing
3
     Notice of Taking Videotaped Oral Deposition was served via electronic mail upon the
4
5    following:
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     Thomas P. Cartmell
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     NOTICE OF TAKING VIDEOTAPED ORAL DEPOSITION                     CASE NO. 3:19-md-02913
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5    Co-Lead Counsel for Plaintiffs
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7
8
     Date: March 1, 2023
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